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UNITED STATES DISTRICT COURT

 

for the
Southern District of Texas
McAllen Division
United States of America )
v. , '
Ruben Ramos BELTRAN § Case NO' ‘:\' \8 ML` \35@
Lawful Permanent Resident )
YOB: 1970 )
Defendant
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of June 29, 2018 in the county of Hidalgo in the Southern District of
Texas , the defendant violated 18 U. S. C. § 554 and 2

 

an offense described as follows:

Knowingly attempts to export or send from the United States, any merchandise, article, or object contrary to any
law or regulation of the United States, or receives, conceals, buys, sells, or in any manner facilitates the
transportation, concealment, or sale or such merchandise, article or object, prior to exportation, knowing the
same to be intended for exportation contrary to any law or regulation of the United States, to wit: five thousand
cartridges of 7.62 x 39mm caliber ammunition Aiding and abetting and facilitating the smuggling and
attempted smuggling of ammunition.

This criminal complaint is based on these facts:

See Attachment A.

lg Continued on the attached sheet

/S/ Brian E. Garcia

Complainant 's signature

 

Brian E. Garcia, HSI Special Agent
Prl'nted name and title

 

Sworn to before me and signed in mv oresence.
Submitted by reliable electronic means, sworn to and attested to electronically per Fed. R. Cr. P. 4.1, and probable cause
found on:

   

Date: June 30, 2018-11:56am
Judge ’s signature

City and state: McAllen, TX Juan F. Alanis, U.S. Magistrate Judge

 

 

 

 

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Attachment A

On June 29, 2018, Homeland Security Investigations (HSI) and the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) Special Agents (SAs) were conducting surveillance at a local
Federal Firearms Licensee (FFL). SAs observed an individual later identified as, Ruben Ramos
BELTRAN, taking possession of a large order of ammunition and placing the ammunition into
his vehicle. Thus, SAs initiated mobile surveillance of BELTRAN. A Hidalgo County Sherriff
Deputy conducted a traffic stop in Mercedes, Texas. During the traffic stop, BELTRAN gave
consent to the Deputy to search his vehicle, While also stating that there was ammunition inside.

HSI and ATF SAs proceeded to conduct an interview of BELTRAN. BELTRAN stated he was
going to take the ammunition to a storage room located in Brownsville, Texas. BELTRAN stated
that another unknown person was going to pick up the ammunition and take it into Mexico.
BELTRAN stated he knew the ammunition was going into Mexico. BELTRAN stated that he
knew it was illegal to take ammunition into Mexico. BELTRAN also stated that he did not, nor
had he ever applied for a license to export ammunition from the Unites States. BELTRAN stated
that he was going to get paid four hundred dollars ($400) to take the ammunition to the storage
room in Brownsville, Texas.

/S/ Brian E. Garcia
Brian E. Garcia, Special Agent
Homeland Security Investigations

Sworn to before me and signed on June 30, 2018, in McAllen, Texas.

%an F. Alanis
United States Magistrate Judge

